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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS
CRIMINAL No.
18-10013-RGS
                                      UNITED STATES OF AMERICA
                                                    v.
                             GARY P. DECICCO and PAMELA M. AVEDISIAN
                                       INTERIM STATUS REPORT
                                            October 16, 2018
DEIN, M.J.
        An Interim Status Conference was held before this court on October 16, 2018, pursuant to the

provisions of Local Rule 116.5(b). Based on that Conference, this court enters the following report and

orders to wit:

    1. The defendants are in the process of reviewing the voluminous documents produced by the
       government to date. The date for filing requests for additional documents shall be set at the
       next status conference. The court has entered a Protective Order in this case.

    2. The defendant DeCicco was found not guilty in the case of United States v. Gary DeCicco, No.
       17-cr-00092-NMG. The defendant is attempting to sell some real estate to pay amounts owed
       to counsel who represented him in that matter, and to pay for counsel in the instant case.

    3. The government does not expect to produce additional discovery except in response to specific
       requests and in accordance with the Local Rules.

    4. The date for filing discovery and/or dispositive motions will be set at the next status conference.

    5. The government will produce its expert discovery no less than 60 days prior to trial. The
       defendants will provide his expert disclosures no later than 30 days prior to trial.

    6. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
       Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
       District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
       and Procedures for Implementing Them, Effective December 2008) that the defendant requires
       additional time for the preparation of an effective defense, including time for review of the
       evidence, preparation of motions, and consideration of alternatives concerning how best to
       proceed with this matter, and that the interests of justice outweighs the best interests of the
       public and the defendants for a trial within seventy days of the return of an indictment.
       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
       of October 16, 2018 through November 13, 2018, that being the period between the expiration
       of the last order of excludable time and the next status conference.
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    Based on the prior orders of the court dated January 16, March 15, May 10, July 18, August 16,
    September 17, 2018 and the order entered contemporaneously herewith, as of November 13,
    2018 there will be zero (0) days of non-excludable time under the Speedy Trial Act and seventy
    (70) days will remain under the Speedy Trial Act in which this case must be tried.
7. An Interim Status Conference has been scheduled for November 13, 2018 at 11:00 a.m. Counsel
   for the respective parties shall file a Joint Memorandum before the close of business no less
   than THREE business days prior to that Status Conference.
8. It is too early to determine if a trial will be necessary.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




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